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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

Zohar III, Corp., et al.,! Case No. 18-10512 (KBO)

Debtors. Jointly Administered

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Docket Ref. No. 1267

 

INTERIM ORDER AUTHORIZING THE DEBTORS TO ENTER
INTO AMENDED PORTFOLIO COMPANY CREDIT
AGREEMENT AND GRANTING RELATED RELIEF

Upon the motion (the “Motion” of the above-captioned debtors and debtors in possession
(collectively, the “Debtors’”) for entry of interim and final orders, pursuant to sections 105(a) and
363(b) of the Bankruptcy Code, authorizing the Debtors to enter into a Credit Agreement
Amendment with the Portfolio Company on terms substantially similar to those of the Term
Sheet; and it appearing that the relief requested in the Motion is in the best interests of the Debtors’
estates, their creditors, and other parties in interest; and this Court having jurisdiction over this
matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from
the United States District Court for the District of Delaware, dated February 29, 2012; and this
Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court
being able to issue a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion in this District is proper

 

! The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
Consuiting, Inc., New York, NY 10036.

2 Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
Motion.
 

 

 

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before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion
having been provided under the particular circumstances, and it appearing that no other or further
notice need be provided; and after due deliberation; and sufficient cause appearing therefor, it is
hereby
ORDERED, ADJUDGED, AND DECREED THAT:
1. The Motion is GRANTED as set forth herein.
2. The Debtors are authorized to enter into a Credit Agreement Amendment
and issue the Term E New Loan under terms substantially similar to those described in the Term _ 7 ¢
Sheet, attached herotGas Exhibit), p he My f olf fy
3. A hearing will be held at the January 28 Hearing to consider authorizing the
Debtors to issue the Term F New Loan.
4. The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.
5. The Debtors and the Portfolio Company are authorized and empowered to
take all actions necessary to implement the relief granted in this Order.
6. This Court shall retain jurisdiction with respect to all matters arising
from or relating to the interpretation or implementation of this Order.

Dated: January 5 , 2020 RAG
Wilmington, Delaware 4 (A-40Ow

: Honorable Brendan 7. Shannon
ited States Bankruptcy Judge

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